 

Case 1:19-cv-05523-SDG Document 150 Filed 07/22/21 Page 1of1

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
Northern District of Georgia

Case Number: 1:19-CV-5523-ODE

Plaintiff: Berkeley Ventures II, LLC

Vs.

Defendant: Sionic Mobile Corporation
Ronald D. Herman

For:

Jason Godwin

Godwin Law Group

3985 Steve Reynolds Boulevard
Building D

Norcross, GA 30093

Received by Ancillary Legal Corporation on the 14th day of July, 2021 at 8:55 am to be served on Donald
Bloom, 3662 Cambridge Dr SW, Marietta, GA 30064.

|, Doug Troy, being duly sworn, depose and say that on the 15th day of July, 2021 at 4:47 pm, I:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the Subpoena to Produce
Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action, Federal
Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13) exhibits A to: Donald Bloom at the
address of: 3662 Cambridge Dr SW, Marietta, GA 30064.

Additional Information pertaining to this Service:
7/15/2021 4:47 pm Perfected personal service at 3662 Cambridge Dr. SW, Marietta, GA 30064. Mr. Bloom
was sitting poolside at his residence, came to the gate, identified himself, and accepted service.

| am an agent of Ancillary Legal Corporation and am competent in all respects to testify regarding the
matters set forth herein. | have personal knowledge of the facts stated herein and know them to be true.|
have no interest in the outcome of this action and am not related to any of the parties. | am 18 or more
years of age and am authorized to serve process.

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VON

 

Tega
Dougroy “U
Subscribed and Sworn to before me on the 22° Process Server
day of , 2624 _ by the affiant
who is personallyknown to me. Ancillary Legal Corporation
2900 Chamblee Tucker Road
5 Building 13
NOTARY PUBLIC Atlanta, GA 30341

(404) 459-8006

Our Job Serial Number: ANC-2021007808
Ref: Berkeley

 

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